                 Case5:15-cr-00226-EJD Document54 Filed08/14/15 Page1 of 2



 1 MELINDA HAAG (CABN 132612)
   United States Attorney
 2
   DAVID R. CALLAWAY (CABN 121782)
 3 Chief, Criminal Division

 4 BRIANNA L. PENNA (CABN 290444)
   JEFFREY SCHENK (CABN 234355)
 5 Assistant United States Attorney

 6           150 Almaden Boulevard, Suite 900
             San Jose, California 95113
 7           Telephone: (408) 535-5061
             FAX: (408) 535-5066
 8           Brianna.penna@usdoj.gov

 9 Attorneys for United States of America
10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                                SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                          )   Case No. CR-15-00226-EJD
                                                        )
15           Plaintiff,                                 )   UNITED STATES’ AMENDED EXHIBIT LIST
                                                        )
16      v.                                              )
                                                        )   Trial Date:    August 25, 2015
17   DOUGLAS YORK,                                      )   Time:          9:00 a.m.
                                                        )   Courtroom:     Hon. Edward J, Davila
18           Defendant.                                 )
                                                        )
19

20

21           The United States may offer the exhibits set forth on this Exhibit List at the trial of this case.
22 The government reserves the right to amend this list.

23

24

25

26
27

28

     UNITED STATES’ AMENDED EXHIBIT LIST
     CR-15-00226-EJD
30
              Case5:15-cr-00226-EJD Document54 Filed08/14/15 Page2 of 2



 1   Exhibit Date ID Date Sponsoring                      Description                     Bates
     Number          Admitt Witness                                                       Range
 2                     ed
 3       1                               Teltech Systems Inc. (Spoofcard) voice
                                         recording.
 4

 5
         2                               Teltech Systems Inc. (Spoofcard) records.
 6

 7
         3                               Verizon Wireless records.
 8

 9
         4                               Audio recording from Hessenflow’s voice
10                                       mailbox.

11
         5                               Email to TIGTA from Hessenflow reporting
12                                       voice mail.

13                                       Security camera video footage from outside
         6
                                         Allan Hessenflow’s house.
14

15
         7                               Craigslist records pertaining to a posting on
16                                       2/24/2012.

17
         8                               A photograph of defendant’s Facebook page.
18

19
         9                               Allan Hessenflow’s personal log
20                                       documenting contact with defendant.

21

22
     DATED: August 14, 2015                                   Respectfully submitted,
23
                                                      MELINDA HAAG
24                                                    United States Attorney

25
                                                             /s/
26                                                    BRIANNA L. PENNA
                                                      JEFF SCHENK
27
                                                      Assistant United States Attorneys
28

     UNITED STATES’ AMENDED EXHIBIT LIST
     CR-15-00226-EJD
30
